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                      UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF IDAHO


 ADREE EDMO,
                                             Case No. 1:17-cv-00151-BLW
        Plaintiff,
                                             MEMORANDUM DECISION
         v.                                  AND ORDER

 IDAHO DEPARTMENT OF
 CORRECTION, et al.,

        Defendants.



      Defendants’ Joint Motion for Extension of Time to File a Response/Reply

(Dkt. 332) sought more time to respond to Plaintiff’s Motion for Writ of

Execution. In making that request, though, Defendants made several references to

“pausing” Plaintiff’s collection efforts in order to promote “meaningful

mediation.” Dkt. 332 at 4. In doing so, Defendants alluded to—but did not clearly

request—staying execution of the judgment pending the outcome of mediation.

      The Court issues this Order to make clear that its Memorandum Decision

and Order (Dkt. 334) issued November 23, 2022 did not resolve whether execution

of the judgment should or should not be stayed pending mediation. That is because

Defendants did not expressly request a stay, despite their references to “pausing”


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Plaintiff’s collection efforts. Instead, Defendants merely requested an extension of

time to respond to the request for a writ of execution. As the Court has already

explained, Defendants were not entitled to file a response in that procedural

posture and could not effectively delay execution of the judgment simply by

expanding the briefing schedule. Dkt. 334. Nonetheless, that conclusion does not

foreclose Defendants’ path to request a stay of execution.

      Thus, to the extent Defendants’ Motion (Dkt. 332) did seek to stay execution

of the judgment, that motion will be denied without prejudice. Although

Defendants explained that “pausing” collection efforts would promote “meaningful

mediation,” that statement is not, itself, sufficient to justify staying execution.

More is needed to show that a stay is justified, and that Plaintiff will be protected

absent a bond under Rule 62(b) of the Federal Rules of Civil Procedure.

      Ultimately, Defendants may request to stay execution of the judgment

pending the outcome of mediation. But they must do so by filing a separate motion

to be set on a separate briefing schedule.

                                       ORDER

      IT IS ORDERED that:

      1.     To the extent Defendants’ Joint Motion for Extension of Time to File

             Response/Reply (Dkt. 332) sought to stay execution of the judgment,




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         the motion is DENIED without prejudice.



                                      DATED: November 30, 2022


                                      _________________________
                                      B. Lynn Winmill
                                      U.S. District Court Judge




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